The publication of the summons and the mailing of the complaint, with the necessary affidavits of returns showing what had been done, were the essentials in acquiring jurisdiction over this nonresident defendant, and unless it affirmatively appeared that the law had been strictly complied with, the court did not acquire jurisdiction of the defendant. Hence, any judgment or decree rendered upon that showing was void, in fact a nullity; and the record as made up affirmatively showed that the court had never acquired jurisdiction of the defendant. Eleven months after the decree was rendered the court attempted to correct the error and to make a void judgment valid by permitting the return of the mailing of the summons and complaint to be amended. This, we submit, cannot be done. The requirements being that it must affirmatively appear at the time of the hearing that the court had acquired jurisdiction. Where constructive service of summons is relied upon to sustain a judgment, a strict compliance with the provisions of the statute is required. Rev. Laws, sec. 5027; Coffin v. Bell, 22 Nev. 183; Perry v. District Court, 42 Nev. 284- 291; Wildes v. Lou Dillon M. Co., 41 Nev. 364. *Page 80 
The affidavit of publication of the summons in this case is insufficient to meet the requirements of the statute, Rev. Laws, sec. 5032, subd. 3. Said affidavit was not made by the publisher, his foreman or principal clerk, nor does it appear that the manager of the publisher was an employee. If he was, it should have been set out in the affidavit and shown what his knowledge of the same was.
The record on appeal shows that the appellant received the copy of the summons, annexed to a certified copy of the complaint, many months before her default was entered and judgment rendered against her. This service of process was based upon a valid affidavit and order for publication of summons. It is the fact of service which gives the court jurisdiction, not the proof of service; hence the trial court had jurisdiction of the person of the appellant at the time it entered her default and rendered judgment in favor of the respondent. Amended affidavits of service may be received after a judgment of divorce has been rendered, and filed nunc pro tunc as of the date of the judgment. Herman v. Santee (Cal.), 37 P. 509, and cases therein cited; In Re Newman's Estate, 16 P. 887; 9 R.C.L. 412, par. 211.
The authorities cited by appellant on the point that "where constructive service of summons is relied upon to sustain a judgment, a strict compliance with the provisions of our statute is required" are not in point in this case, for the reason that the facts upon which the court based its opinions in those cases are entirely different from the facts disclosed by the record in the case at bar. In the case of Perry v. District Court, 42 Nev. 284, the contention was that the affidavit for order of publication of summons was fatally defective. In the case of Wildes v. Lou Dillon M. Co., 41 Nev. 364, it was held that the affidavit for order of publication of summons was insufficient, because it did not state certain jurisdictional facts. And in the case of Coffin v. *Page 81 
Bell, 22 Nev. 183, it was held that the trial court never acquired jurisdiction "for the reason that the summons which was served upon Mrs. Goddard was not the summons ordered to be published." The entire facts in the instant case show that every requirement of the statute respecting constructive service of summons was strictly complied with, in this, that the mailing and publication of summons was made in accordance with the directions of the court contained in a valid affidavit for order for publication of summons, which was based upon a valid affidavit for order of publication of summons. And appellant's contention that the affidavit of the publication of summons is defective and insufficient is, we think, without any merit whatever. The record discloses that the summons was published and the affidavit of publication of summons was made in strict compliance with the provisions of sec. 5032, Rev. Laws.
Where the service was sufficient to put the appellant on notice, judgment by default for want of an appearance should not be set aside on account of trivial irregularities in such service. "Mere technicality will not avail to set aside a judgment." Jones v. San Francisco Sulpher Co., 14 Nev. 172.
                                 OPINION
This is an appeal from an order denying appellant's motion to set aside a default and judgment in a divorce case. Appellant was defendant in the court below. Her motion was made upon the ground that the lower court was without jurisdiction to enter a default and render judgment. These proceedings were had upon a constructive service of summons.
The order for publication contained a requirement that a copy of the summons be sent to the defendant by United States mail, postage thereon prepaid, to the town of North Hanover, Mass., her last known place of residence. The affidavit of mailing of summons recited *Page 82 
that: "On the 11th day of June, 1924, I deposited in the post office at Reno, Nevada, a copy of the summons attached to a certified copy of the complaint in said action, directed to Mary Williamson, the defendant, at Hanover, Mass., the last known place of her residence, and prepaid the postage thereon." The affidavit of publication, omitting the formal parts, is as follows: "Joe McDonald, being first duly sworn, deposes and says: That he is manager of the publisher of the Nevada State Journal, a daily newspaper published and printed and of general circulation in the city of Reno, county of Washoe, State of Nevada; that the summons, of which a copy is hereunto attached, was first published in said newspaper in its issue dated June 13, 1924, and was published in each of the following issues thereafter: June 20, 27, July 4, 11, 18, 25 — the date of the last publication being in the issue of July 25, 1924."
Upon this proof of service of summons, as furnished by the foregoing affidavits, the court entered a default on the 21st day of March, 1925. Judgment was rendered on the same day. The motion to set aside the default and judgment was filed on January 8, 1926, and heard and denied by the court on the 2d day of February, 1926.
The affidavit for publication of summons made by the respondent, and order for publication, are not questioned; but appellant contends that there was no proper proof of service of summons when the court entered default and rendered judgment, and that the failure of proof in this regard deprived the court of jurisdiction. The particular respects in which it is claimed that the proof fails are that the order required a copy of summons to be mailed to the appellant at the town of North Hanover, Mass., while the affidavit of mailing shows that it was mailed to the appellant at Hanover, Mass., and that the affidavit of publication was made by a person not authorized by statute.
It must be admitted that the proof of service was not in compliance with the statute. Section 5032 of the Revised Laws provides in part as follows: *Page 83 
"3. In case of publication, the affidavit of the publisher, his foreman or principal clerk, or other employee having knowledge thereof, showing the same, and an affidavit of a deposit of a copy of the summons in the post office, if the same shall have been deposited; or
"4. The written admission of the defendant."
1. It will be observed that the "manager of the publisher" is not one of the persons specially authorized by the statute to make an affidavit of publication, and, if in this instance he can be considered an employee other than those mentioned, it does not appear from the affidavit that he had knowledge of the publication, as is required by the statute.
2. It appears, from an affidavit which the court permitted to be filed on the hearing of the motion, that the original affidavit of mailing was erroneous, in stating that the copy of the summons was addressed to the appellant at Hanover, Mass., and that a copy of the summons was actually addressed to the appellant at North Hanover, Mass., in accordance with the order of the court. Upon this showing the court permitted the original affidavit of mailing to be amended in this respect. There was no error in this. Herman v. Santee, 103 Cal. 519, 37 P. 509, 42 Am. St. Rep. 145; Hibernia Savings  Loan Society v. Matthai,116 Cal. 424, 48 P. 370. In Herman v. Santee, supra, it was held, under a statute like ours, that from the time of service of summons the court acquired jurisdiction of the parties to the action, and not error for the court after judgment to allow an amended affidavit showing that the appellant was regularly served with a copy of the summons and complaint, to be filed nunc pro tunc as of the date of judgment.
The objection that the affidavit of publication was not made by a person authorized by the statute to make it was not made in the court below. Consequently no opportunity was given to supply the proof of publication required by the statute, if it could have been supplied.
3-6. On the hearing of the motion to set aside the default and judgment, there was evidence tending to *Page 84 
show that appellant had knowledge of the pendency of the action, and had engaged her present attorney to represent her in the action. But this evidence does not supply the proof of constructive service of the summons, or an admission of service, as required by the statute. It is true, as respondent contends, it is the service of summons that gives jurisdiction, and not the proof thereof. Section 5034, Rev. Laws Nev.; Herman v. Santee,103 Cal. 519, 37 P. 509, 42 Am. St. Rep. 145. But it is also true that the required proof of service must be furnished before a trial court is authorized to find that it has jurisdiction over the person of the defendant. The entry of default and judgment on the defective proof was therefore error, but the judgment is not void, unless there was actually no service of summons as required by the statute.
7. We think that respondent is entitled to supply the statutory proof of publication, if it can be done, as was done as to the proof of mailing. The law in this respect is correctly stated by Mr. Freeman in his work on Judgments as follows: "* * * if a summons has been published in the manner required by law, but the proof of publication found in the files of the court is defective, the court may, on the fact of due publication being shown, permit an affidavit to be filed showing the facts, and when so filed it will support the judgment as if filed before its entry." 1 Freeman on Judgments (5th ed.), sec. 193. This statement of the law is supported by the weight of authority.
The order denying the motion to set aside the default judgment should be reversed.
It is so ordered, and a rehearing of the motion directed in accordance with this opinion.
                        ON PETITION FOR REHEARING
February 4, 1930.